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                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEBRASKA



UNITED STATES OF AMERICA,

                      Plaintiff,
                                                   Case Number: 8:13CB12
       vs.                                         Violation Number: 2304584 NE14

                                                                  ORDER
JOHN J. RIDEL,

                      Defendant.


              On the motion of the United States Attorney=s Office [20], the above-referenced

matter is hereby dismissed without prejudice.


              ORDERED this 2nd day of April, 2014.


                                            BY THE COURT:


                                            s/ Thomas D. Thalken
                                            United States Magistrate Judge
